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                                      IN THE UNITED STATES DISTRICT COURT
                                         EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,

                                Plaintiff,

                        v.                                 Case No. 1:21-cr-00184-DAD-BAM

DARYOL RICHMOND, aka “Nutcase,”
“Nuttcase,” and “Nuttcase 3x,”
TELVIN BREAUX, aka “AJ” and “Lilcup,” and
HOLLY WHITE,
                               Defendants.

                                   APPLICATION FOR WRIT OF HABEAS CORPUS

             The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus

                             ☒ Ad Prosequendum                                 ☐ Ad Testificandum
 Name of Detainee:      Telvin Breaux
 Detained at            California Correctional Institution
 Detainee is:           a.)     ☒ charged in this district by: ☒ Indictment ☐ Information ☐ Complaint
                                   charging detainee with: 18 USC 1349, 18 USC 1028A(a)(1)
                   or   b.)     ☐ a witness not otherwise available by ordinary process of the Court

 Detainee will:         a.)       ☐ return to the custody of detaining facility upon termination of proceedings
                   or   b.)       ☒ be retained in federal custody until final disposition of federal charges, as a sentence
                                   is currently being served at the detaining facility

                               Appearance is necessary FRIDAY, AUGUST 13, 2021, AT 2:00 P.M.

                        Signature:                                /s/ Joseph Barton
                        Printed Name & Phone No:                  Joseph Barton, 559-892-8490
                        Attorney of Record for:                   United States

                                             WRIT OF HABEAS CORPUS
                             ☒ Ad Prosequendum                   ☐ Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, FORTHWITH, and any further proceedings to be
had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named custodian.
 Dated:       7/26/21
                                                             Honorable Sheila K. Oberto
                                                             U.S. MAGISTRATE JUDGE
Please provide the following, if known:
 AKA(s):                 “AJ” and “Lilcup”                                                 ☒Male      ☐Female
 Booking or CDC #:       CDCR # AY4405                                                     DOB:       09/27/1991
 Facility Address:       24900 Highway 202, Tehachapi, CA                                  Race:      African-American
 Facility Phone:         (661) 822-4402                                                    FBI#:
 Currently
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                                      RETURN OF SERVICE
Executed on:
                                              (signature)
